Case 1:15-cv-05871-KPF Document 4-7 Filed 08/13/15 Page 1 of 16

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Acacernic Affiliate of ety eau ltALm

Columbia Unwvarsity Coliege
of Physicians anc Surgeons

 

Continuum iieath Partness, Inc.

Patient Price, Kelly

 

 

Arrival: 10/19/2012 16:52 DOB: 11/27/1970
Chart ID: 346642920139 Age/Gender: 41 / female
MRN: 200004428789 Account Number: 000480800614
Insurance: UNTD HLTHCARE CAID PCP: *NONE
Primary Nurse: KING, RN, ANTHONY Resident: DIXON, MARSHA PA
ER Physician: CLARK, MARK MD PA/NP: DIXON, MARSHA PA
Pain: 1/10 - mild
[vitais| Time | BP [PR[RR] Temp | Time: 10/19 17:36
First 10/19 16:54 142/56 69 16 98.3 Oral
Latest. 10/19 16:54'142/56 69 :16 98.3 Oral: O2 Sat: 98% Concentration: Not stored

Time: 10/19 16:54
HPI

The patient is a 41-year-old female who presents with a chief complaint of knee pain. HPI Pt with bilateral knee pain,
secondary to altercation a couple of days ago, with mild abrasion to bilateral knee. Pt mentions h/o meniscal tear to
right knee yrs ago, with one knee bigger than other for long while. Pt ambulatory to ED. . The history was provided by
the patient. The history is limited by nothing - patient appears as reliable historian. It initially occurred 2 day(s) ago.
The mechanism of injury was a blunt trauma and fall. The knee pain occurred while involved in an altercation. The
knee pain is located in the bilateral knee. The patient complains of pain at the knee pain site. The intensity is
moderate. The course has been stable. The symptoms have no aggravating factors. The symptoms have no relieving
factors. The symptoms have been associated with pain and swelling, while the symptoms have not been associated
with fever or chills. The related history is not significant. The patient has had the following prior evaluations: none.
The patient was treated prior to arrival with nothing.

Published: 1728 10/19/2012 MAIRSHA DIXON, PA

ROS

The ROS is limited by: Nothing - patient appears as reliable historian
Constitutional

Negative for fever and chills.

Eyes

Negative for eye pain.

ENMT

Negative for ear pain, nasal congestion and sore throat.
Cardiovascular

Negative for chest pain.

Respiratory

Negative for cough.

Gastrointestinal

Negative for nausea, vomiting, diarrhea and abdominal pain.
Genitourinary

Negative for dysuria.

Musculoskeletal

Positive for knee injury and morning stiffness - joint. Negative for deformity and reduced mobility.
Skin

Positive for abrasions.

Neuro

Negative for headache.
Pubikahed: 17:29 10/19/2012 MARSHA DIXON, PA

10/22/2012 10:39:22 AM
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Constitutional: Oriented, Alert, in NAD -

O/E - head - general examn.: Head atraumatic, normalcephalic

Eyes: EOMI, PERRL

ENMT: Pharynx non-erythematous; no visible lesions.

Neck: Supple, Cervical spine non tender

Cardiovascular: Regular rate and rhythm, NL S1/S2

Respiratory; Clear to auscultation bilaterally, No rales, rhonchi, or wheezes, Breath sounds equal bilaterally
Chest: Expansion normal, Movement symmetr:cal

Gastrointestinal: Abdomen soft, Nontender

Musculoskeletal Exam

Musculoskeletal Exam: No midline spinal tenderness

Musculoskeletal: All 4 extremities with FROM passively, All 4 extremities with FROM actively

Psychiatric: Alert and oriented person, place, and time

Neuro exam

Neuro exam: A&Ox3, Cranial Nerves II-XIl intact, Motor intact in all extremities, Sensation normal , Normal reflexes,
Gait normal

Musculoskeletal Exam

Knee Exam

Side: Bilateral

Knee: Positive for tenderness of anterior knee joint, tenderness on medial joint line of knee, tenderness on lateral
joint line of knee and small joint effusion. Negative for ligamentous laxity of knee, tenderness of popliteal area and
patellar tenderness.

right knee slight bigger than left knee(old injury)

Published 4 )O/40/2012 MARSHA DIXOM, PA

Medical Decision Making .
Care Plan: Pt with bilateral knee pain, secondary to altercation x 2 days ago. Pt with chronic knee pain right, some
yrs. Pt will be referred to Orthopedic clinic.

Pobished: (752 loi 20712 MARSHA DIXON, PA
Attending é
Supervision: General PA supervision i
Published: 105 TOMG/2012 MARK OLARK, ivi

PMD/Refer Notification

Information Verification: None available

Private MD Info and Contact

The PMD is Dr.: *NONE
Published: 17°32 10/19/2012 MARSHA DIXON, PA

Patient disposition

Primary diagnosis

Primary Diagnosis: Abraision - Knee No Infection (916.0)
Patient disposition: Disch - Home

External cause of injury: Assault, fight, brawl (E960.0)
Place of injury: Not Specified (E849.9)

Published: 16938 10/19/2012 MARSHA DIXON, PA

Medication disposition

 

Medications

 

 

 

Medications | Dosage| Frequency |Last Dose|Medication disposition| PCP contact
‘None Continue

 

t
Published: 17.33 10/19/2012 MARSHA DIXON, PA

Prescriptions

10/22/2012 10:39:22 AM

we
"
«
Case 1:15-cv-05871-KPF Document 4-7 Filed 08/13/15 Page 3 of 16

 

Prescription

 

 

 

Medication | Dispense Sig Line
;Percocet 5 mg-325 mg tablet *15* (Fifteen) 1-2 tabs po QID prn, pain,

 

Published: 17:33 10/19/2012 MARSHA DIXON, PA

Discharge

Append a Note to Discharge Instructions: Read discharge information. Medications as prescribed.
Discharge Instructions

abrasion, elevated blood pressure/hypertension - no new meds, knee ligament injury - ligament unspecified
Drug Instructions 7

pain acetaminophen oxycodone

 

Referral/Appointment
Refer Patient To: |PMD/Clinic not in fist] Phone Number | Follow-up in
i*CLINIC - ORTHOPEDICS: 10 days

 

 

 

 

Publshed: (7:34 10/19/2012 MARSHA DIXON, PA
Chart Sign-off

Chart electronically signed by ER Physician
Published: 7:08 10/19/2012 MARK CLARK, WD

Documentation completed by Responsible Physician
Published 17:32 10/19/2012 MARSHA DIXON, PA

10/22/2012 10:39:22 AM
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St. Lukes
1111 Amsterdam Avenue
NY, NY 10025

Emergency Department
212-523-3335

 

Name: Price, Kelly DOB: 11/27/1970
Phone: (212)470-8044 MR #: 200004428789 Sex: Female
Unit: 03 Fast Track Chart #: ED1354915 Age: 41

ACT #: 000480800614
Address: 237 WEST 120TH STREET 1,

Continuum Heath Cartrers kK NEW YORK, NY 10027
Assessment Sheet

 

 

 

Complaint: Bilateral Leg Pain/s/p Assault
Arrival Date/Time: 16:52 10/19/2012
Arrived by: Walk-in

Mobility:

Accompanied By:

Last Date Seen: 06/02/2012 03:06

Triage Acuity: Level IV - Semi-Urgent

Primary Insurance: UN'TD HLTHCARE CAID
Secondary/Tertiary Insurance: /

Referring Phys/Facility; Unassigned

PMP: *NONE

Emergency Attending Physician: CLARK, MARK

Emergency Resident Physician: DIXON, MARSHA - Emergency Medicine

 

Complaint Code: Trauma/Ortho/Lacerations
Treatments PTA:

Travel History:

Hand hygiene: Yes. Mask applied: No.
Language:

Triage Nurse; PADUA, RN, MACVIR
Primary Nurse: KING, RN, ANTHONY

Barriers to Education: condition of patient, emotional state, mental status

 

 

Past Medical Hx: None
Tetanus Hx:

Social Hx:

Weights:

LMP Date:

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
   

Presenting Medications Allergy
Medication Dosage — Freq Medication Dosage ey]
None NKDA
). 5
Vital Signs Pain Puise Ox. Glasgow Coma
Inits Time Blood Pressure Ries amit) 3 Cerys eer La la e oh f=
MP 16:54 98.30 | 142/56 Automatic Sitting,Left Arm 69 16 16:54 5/10 16:54 98

 

17:26 | 5/10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Disposition Information

Primary Diagnosis: Abraision - Knee No Infection (916.0)
Disposition: Disch - Home

Discharge Time: 17:41 10/19/2012

RN Report Called By:

RN Report Given To:

MD Report Called By:

MD Report Given To:

Follow-up Care: *CLINIC - ORTHOPEDICS
Appt Date/Time:

Disability Statement:

Prescriptions: Percocet 5 mg-325 mg Tab
Discharge Instructions:

Secondary Diagnosis:

Discharge Acuity: Level IV - Semi-Urgent
Admit To Team:

Admit To Floor/Room: /

Service/Private:

Admit To Physician:

Admit - Resident:

Admit - Intern:

Family Notification:

Admit Special Needs:

 

EmSTAT EDIS: assessment_sheet

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St. Lukes
1111 Amsterdam Avenue
NY, NY 10025

 

Emergency Department

 

Name: Price, Kelly
Phone: (212)470-8044
Unit: 03 Fast Track

DOB: 11/27/1970
Sex: Female
Age: 41

MR #: 200004428789
Chart #: ED1354915
ACT #: 000480800614
Address: 237 WEST 120TH STREET 1,

 

 

 

212-523-3335 Continua resiliiractoers bi NEW YORK, NY 10027
Assessment Sheet

Initial Tage Info POCT Results

16:53 10/19/2012 - Nursing Facility Info - MACVIR PADUA, RN (None)
Nursing Facility Patient: No
Referral Documents: No Xray Order & Result Summary

16:53 10/19/2012 - Initlal Trlage info - MACVIR PADUA, RN (None)
Initial Triage Acuity: Level IV - Semi-Urgent
Presenting Complaints: Leg pain-left, Leg pain-right, Abrasion, Pain- face EKG Results
Duration: 2, days (None)
Quick Assessment: -Alert and Oriented x 3
Complaint Category: Trauma/Ortho/Lacerations IVs Given
Mode of Arrival: Walk-in
Trauma called: No Assessment/Reassessment

Recently tried to hurt self: No

Think about not wanting to live: No

Language Verification: None Needed

HIV test: No

Hand hygiene: Yes

Mask applied: No

Door Time - Date: 10/19/2012

Door Time - Time: 16:53

16:53 10/19/2012 - Trlage Complaint and Note - MACVIR PADUA, RN

Chief Complaint: Bilateral Leg Pain/s/p Assault

Note: Pt is here for leg pain after assault 2 days ago, also with facial pain after
being slapped.

PMH/Current Meds/Allergies

16:52 10/19/2012 - Allergy Information - EmSTAT System entry
Allergy: NKDA

16:52 10/19/2012 - Past Medical History - MACVIR PADUA, RN
Medical history: None
Barriers 1o Education: emotional state, mental status, condition of patient
Foreign Travel History: Unable
Pull forward verification status: Verified
Historian: EMS

16:52 10/19/2012 - Allergy information - MACVIR PADUA, RN
Allergy: NKDA

16:52 10/19/2012 - Past Medical History - EmSTAT System entry
Medical history: None
Barriers to Education: emotional state, mental status, condition of patient
Foreign Travel History: Unable
Historian: EMS

16:52 10/19/2012 - Home Medications - MACVIR PADUA, RN
Pull-Forward Verification: Verified

17:29 10/19/2012 - Home Medicatlons - MARSHA DIXON, PA
Pull-Forward Verification: Verified

17:29 10/19/2012 - Past Medical History - MARSHA DIXON, PA
Medical history: None
Barriers to Education! emotional state, mental status, condition of patient
Foreign Travel History: Unable
Pull forward verification status: Verified
Historian: EMS

17:29 10/19/2012 - Allergy Information - MARSHA DIXON, PA
Allergy: NKDA

17:33 10/19/2012 - Home Medications - MARSHA DIXON, PA
Med: None

Disposition: Continue

Medication Summary

Patient name, medication and allergy verification required at time of order.
Patient name, medication, allergy and DOB vertication required before
administration.

17:26 10/19/2012 - Ibuprofen (Motrin, Advil) 800mg -po - MARSHA DIXON, PA

Order Information:
Pain Scale: 5/10 -

Medicatlon Administered - 17:28 10/19/2012 by CORINA WOLFER, RN
Medication: Ibuprofen (Motrin, Advil) 800mg -po

Response to Medicatlon - 17:36 10/19/2012 by ANTHONY KING, RN
Medication: Ibuprofen (Motrin, Advil)
Pain Scale: 1/10 - mild

Lab Order & Result Summary
(None)

 

16:53 10/19/2012 - Aculty - MACVIR PADUA, RN
Acuity: Level IV - Semi-Urgent
16:54 10/19/2012 - Vital Signs - MACVIR PADUA, RN
Temp: 98.3 Oral
BP: 142/56, Automatic, Sitting, Left Arm
HR: 69, Regular
Resp: 16, Regular
16:54 10/19/2012 - Change Physician - MACVIR PADUA, RN
ER Physician: Unassigned, -
Resident: Unassigned, -
Prim. Care Provider: * YOUR PRIVATE PHYSICIAN/CLINIC
Responsible Physician: TEAM, FASTTRACK -
Mid-Lavel Physician: Unassigned,
Medical Student: Unassigned,
Referring Physician: Unassigned, -
Referring Facility: Unassigned
16:54 10/19/2012 - Providers - MACVIR PADUA, RN
PCP: TEAM, FASTTRACK -
16:54 10/19/2012 - Paln Assessment - MACVIR PADUA, RN
Pain Scale: 5/10
16:54 10/19/2012 - Oximetry - MACVIR PADUA, RN
Pulse Oximetry %: 98
MAP: 84.7
17:05 10/19/2012 - LEP - Registration - MARIBEL MEDINA, BA
Eagle Language Verification; Correct
EmSTAT Language Verification: Gorrect
17:15 10/19/2012 - Physician Evaluation - MARSHA DIXON, PA
Acknowledgement: MD acknowledged review af triage information
17:15 10/19/2012 - Change Physician - MARSHA DIXON, PA
ER Physician: CLARK, MARK - Emergency Medicine
Resident: DIXON, MARSHA - Emergency Medicine
Prim. Care Provider: * YOUR PRIVATE PHYSICIAN/CLINIC
Responsible Physician: DIXON, MARSHA - Emergency Medicine
Mid-Level Physician: DIXON, MARSHA
Medical Student: Unassigned,
Referring Physician: Unassigned, -
Referring Facilily: Unassigned
17:17 10/19/2012 - Crime VictIms Treat Ctr - ANTHONY KING, RN
Can Center Contact?: Yes
17:17 10/19/2012 - Domestic Violence - ANTHONY KING, RN
Emotionally/Physically hurt?; No
Currently hurt by someone close?: Yes
Forced sex. activity in last yr?: No
Fear of partner or other?: No
Nature of injuries: Blunt trauma
Nature of assault - DV: Physical assault
Agencies to be notified: Municipal Police
Notified Agencies?: Yes, here
Assailiant Known: Yes
Other: Assailant is multiple people
History of Domestic Vialerice: Yes
Note: pt sts she has been occasionally assaulted by mullipe people associated
with her ex boyfriend, sts she was slapped and pushed yesterday sustaining
edema and abrasion to bilat knees,
17:26 10/19/2012 - MD Chief Complaint - MARSHA DIXON, PA
MD Chief Complaint: Knee pain (719.46)
346649170996
17:28 10/19/2012 - Reassessment - ANTHONY KING, RN
Note: pt reported that nypd has been notified.
17:28 10/19/2012 - Medicatlon Administered - CORINA WOLFER, RN
Medication: Ibuprofen (Motrin, Advil)
Dose: 800
Units: mg
Route: -po
Admin RN Confirmed: Patient Allergies, Patient DOB, Patient Medication, Patient

 

EmSTAT EDIS: assessment_sheet

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St. Lukes
1111 Amsterdam Avenue
NY, NY 10025

 

Emergency Department

212-523-3335 Continuum rela rerren by

Assessment Sheet

 

DOB: 11/27/1970
Sex: Female
Age: 41

Name: Price, Kelly
Phone: (212)470-8044
Unit: 03 Fast Track

MR #: 200004428789
Chart #: ED1354915
ACT #: 000480800614
Address: 237 WEST 120TH STREET 1,

NEW YORK, NY 10027

 

 

 

Name
17:32 10/19/2012 - Change Physiclan - MARSHA DIXON, PA
ER Physician: CLARK, MARK - Emergency Medicine
Resident: DIXON, MARSHA - Emergency Medicine
Prim. Care Provider: “NONE
Responsible Physician: DIXON, MARSHA - Emergency Medicine
Mid-Level Physician: DIXON, MARSHA
Medical Student: Unassigned,
Referring Physician: Unassigned, -
Referring Facility: Unassigned

CPP Risk Assessment
(None)

Other Orders
16:52 10/19/2012 - Initlal Patient Orders - System entry for Registration
HIS Registration- System entry for Registration at 10/19/2012 16:52
Begin Full Registration - MARIBEL MEDINA, BA at 10/19/2012 16:54
Complete Full Reg, - MARIBEL MEDINA, BA at 10/19/2012 17:05
16:53 10/19/2012 - Domestic Violence - MACVIR PADUA, RN
Record Dom. Violence Info - ANTHONY KING, RN at 10/19/2012 17:17
16:54 10/19/2012 - ER Physician Eval. - MACVIR PADUA, RN
Evaluate Patient - MARSHA DIXON, PA at 10/19/2012 17:15
16:54 10/19/2012 - Pain Assessment >= 5 - MACVIR PADUA, RN
Phys acknowledges pain - MARSHA DIXON, PA at 10/19/2012 17:15
17:33 10/19/2012 - Disch - Home - MARSHA DIXON, PA '
Document Procedures - MARSHA DIXON, PA at 10/19/2012 17:35
Review Physician Charges - MARSHA DIXON, PA at 10/19/2012 17:35
Medication Reconciliation - MARSHA DIXON, PA at 10/19/2012 17:33
Discharge Condition - ANTHONY KING, RN at 10/19/2012 17:95
Reviaw Nurse Charges - ANTHONY KING, RN at 10/19/2012 17:36
Discharge Patient - ANTHONY KING, RN at 10/19/2012 17:44
Co-pay cash collection - NORMA SANTIAGO, BA al 10/t 9/2012 17:42
Administrative. Discharge - NORMA SANTIAGO, BA at 10/19/2012 17:42
Charting is Complete - NORMA SANTIAGO, BA at 10/1 g2012 17:42

Discharge Information
17:33 10/19/2012 - Discharge Diagnosis - MARSHA DIXON, PA
Primary: Abraision - Knee No Infection (916.0) (916.0)
17:33 10/19/2012 - Custom Prescriptions - MARSHA DIXON, PA
Medication: Percocet 5 mg-325 mg Tab
Sig 1: 1-2 tabs po QID prn, pain
Dispense: *15* (Fifteen)
17:34 10/19/2012 - Discharge Note - MARSHA DIXON, PA
Note: Read discharge information. Medications as prescribed.
17:34 10/19/2012 - Drug Instructions - MARSHA DIXON, PA
Drug Instructions: pain acetaminophen oxycodone
17:34 10/19/2012 - Ref/App - MARSHA DIXON, PA
Appointment with: *CLINIC - ORTHOPEDICS
Follow up in: 10 days
17:34 10/19/2012 - Discharge Instructions - MARSHA DIXON, PA
Observation truncated: WARNING: Qbservation not complete. See PhysDoc.,
WARNING: Observation not complete. Sea PhysDoc.
Discharge Instructions: abrasion, elevated blood pressure/hypertension ..., knee
ligament injury - ligament unspe...
17:35 10/19/2012 - Discharge Conditlon - ANTHONY KING, RN
Acuity: Level IV - Semi-Urgent
Condition: Stable
Mobility at Discharge: Ambulatory
Patient Teaching: Pt. reviewed follow-up plan of care, Pt. reviewed written DC
instructions, Pt. Volced understanding of instructions, Education provided re:
meds/prescription
Mode of Discharge: Bus
Pain Scale: 0/10 - none
17:42 10/19/2012 - Pt. Contact # at Dsch - NORMA SANTIAGO, BA
Patient Contact Number: (212)470-8044
Contact # confirmed: Yes

Disposition Order

17:33 10/19/2012 - Disch - Home - MARSHA DIXON, PA
Document Procedures - MARSHA DIXON, PA at 10/19/2012 17:35
Reviow Physician Charges - MARSHA DIXON, PA at 10/19/2012 17:35
Discharge Condition - ANTHONY KING, RN at 1Oe2012 17:35
Review Nurse Charges - ANTHONY KING, RN at 10/19/2012 17:36
Discharge Patient - ANTHONY KING, RN at 10/19/2012 17:41
Administrative Discharge - NORMA SANTIAGO, BA at 10/19/2012 17:42
Charting ls Complete - NORMA SANTIAGO, BA at 1O/19/2012 17:42

 

Labs Ordered
(None)

X-Rays Ordered
(None)

gistration Info/Demographics
16:52 10/19/2012 - Registration Information - System entry for Registration
First Name: Kelly
Last Name: Price
Chief Complaint: BILATERAL LEG PAIN/S/P ASSAULT
Date of Birth: 19701127
Sex: F
Medical Record Number: 200004428789
Social Security Number: 521550356
Account Number: 000480800614
Zip Code: 10027
16:54 10/19/2012 - Reglstration Information - NORMA SANTIAGO, BA
Arrival Time: 10/19/2012 16:52
Chief Gomplaint: Bilateral Leg Pain/s/p Assault
Complaint Category: Trauma/Ortho/Lacerations
Date of Birth: 11/27/1970
17:04 10/19/2012 - Registration Information - System entry for Reglstration
Chiat Complaint: BILATERAL LEG PAIN/S/P ASSAULT
Date of Birth: 19701127
17:04 10/19/2012 - Registration Information - MARIBEL MEDINA, BA
Chief Complaint: Bilateral Leg Pain/s/p Assault
Date of Birth: 11/27/1970
Ethnicity: White
17:05 10/19/2012 - Registration Information - System entry for Reglstratlon
Chief Complaint: BILATERAL LEG PAIN/S/P ASSAULT
Date of Birth: 19701127
17:38 10/19/2012 - Reglstration Information - NORMA SANTIAGO, BA
Chief Complaint: Bilateral Leg Pain/s/p Assault
Date of Birth: 11/27/1970

Provider/RN/Location Changes

16:52 10/19/2012 - Change Room - System entry for Reglstratlon
Change Room: Waiting Area Medicine ED

16:54 10/19/2012 - Providers - MACVIR PADUA, RN
PCP: TEAM, FASTTRACK -

16:54 10/19/2012 - Change Nurse - ANTHONY KING, RN
Primary Nurse: KING, RN, ANTHONY
Secondary Nurse: Unassigned,
Responsilile Nurse: KING, RN, ANTHONY

16:54 10/19/2012 - Change Reom - MACVIR PADUA, RN
Change Room: Waiting Area Fast Track

16:54 10/19/2012 - Change Physiclan - MACVIR PADUA, RN
ER Physician: Unassigned, -
Resident: Unassigned, -
Prim. Care Provider: * YOUR PRIVATE PHYSICIAN/CLINIC
Responsible Physician: TEAM, FASTTRACK -
Mid-Level Physician: Unassigned,
Medical Student: Unassigned,
Referring Physician: Unassigned, -
Reterring Facility: Unassigned

17:01 10/19/2012 - Change Room - MANUEL GARCIA, SA
Change Room: Fast Track E

47:18 10/19/2012 - Change Physician - MARSHA DIXON, PA
ER Physician: CLARK, MARK - Emergency Medicine
Resident: DIXON, MARSHA - Emergency Medicine
Prim. Gare Provider: * YOUR PRIVATE PHYSICIAN/CLINIG
Responsible Physician: DIXON, MARSHA - Emergency Medicine
Mid-Level Physician: DIXON, MARSHA
Medical Student: Unassigned,
Referring Physician: Unassigned, -
Referring Facility: Unassigned

17:32 10/19/2012 - Change Physician - MARSHA DIXON, PA
ER Physician: CLARK, MARK - Emergency Medicine
Resident: DIXON, MARSHA' - Emergency Medicine
Prim. Care Provider: "NONE
Responsible Physician: DIXON, MARSHA - Emergency Medicine
Mid-Level Physician; DIXON, MARSHA
Medical Student: Unassigned,
Referring Physician: Unassigned, -
Referring Facility: Unassigned

 

EmSTAT EDIS: assessment_sheet

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Monday - October 22, 2012 - 10:39

 
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St. Lukes
1111 Amsterdam Avenue eee er
NY, NY 10025 Pe

   

Emergency Department

212-523-3335 Continuum Health Partner, inc.

Assessment Sheet

DOB: 11/27/1970

Sex: Female
Age: 41

Name: Price, Kelly

Phone: (212)470-8044
Unit: 03 Fast Track

MR #: 200004428789
Chart #: ED1354915
ACT #: 000480800614
Address: 237 WEST 120TH STREET 1,

NEW YORK, NY 10027

 

 

(Nona)

 

 

 

EmSTAT EDIS: assessment_sheet

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Monday - October 22, 2012 - 10:39

 
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ee \ OCA Official Form No.: 960
\s “e 4} H AUTHORIZATION FOR RELEASE OF HEALTH INFORMATION PURSUANT TO HIPAA
Seat” {This form has been approved by the New York State Department of Health]

 

 

 

 

Patient Name Date of Birth Social Security Number
Kelly Price 11/27/70 XXX-XX-XXXX

Patient Address

237 West 120th Street, New York, NY 10027

 

 

 

I, or my authorized representative, request that health information regarding my care and treatment be released as set forth on this form:

In accordance with New York State Law and the Privacy Rule of the Health Insurance Portability and Accountability Act of 1996
(HIPAA), I understand that:
1. This authorization may include disclosure of information relating to ALCOHOL and DRUG ABUSE, MENTAL HEALTH
TREATMENT, except psychotherapy notes, and CONFIDENTIAL HIV* RELATED INFORMATION only if I place my initials on
the appropriate line in Item 9(a). In the event the health information described below includes any of these types of information, and I
initial the line on the box in Item 9(a), I specifically authorize release of such information to the person(s) indicated in Item 8.
2. If I am authorizing the release of HIV-related, alcohol or drug treatment, or mental health treatment information, the recipient is
prohibited from redisclosing such information without my authorization unless permitted to do so under federal or state law. I
understand that I have the right to request a list of people who may receive or use my HIV-related information without authorization. If
I experience discrimination because of the release or disclosure of HIV-related information, I may contact the New York State Division
of Human Rights at (212) 480-2493 or the New York City Commission of Human Rights at (212) 306-7450. These agencies are
responsible for protecting my rights.
3. I have the right to revoke this authorization at any time by writing to the health care provider listed below. I understand that I may
revoke this authorization except to the extent that action has already been taken based on this authorization.
4. I understand that signing this authorization is voluntary. My treatment, payment, enrollment in a-health plan, or eligibility for
benefits will not be conditioned upon my authorization of this disclosure.
5. Information disclosed under this authorization might be redisclosed by the recipient (except as noted above in Item 2), and this
redisclosure may no longer be protected by federal or state law.
6. THIS AUTHORIZATION DOES NOT AUTHORIZE YOU TO DISCUSS MY HEALTH INFORMATION OR MEDICAL
CARE WITH ANYONE OTHER THAN THE ATTORNEY OR GOVERNMENTAL AGENCY SPECIFIED IN ITEM 9 (b).
7. Name and address of health provider or entity to release this information:

Metropolitan Hospital, 1901 First Avenue, New York, NY

8. Name and address of person(s) or category of person to whom this information will be sent:
Dr. Albert Dellafave & Dr. Carlos Meletiche, Metropolitan Hospital, 1901 First Avenue, New York, NY
9(a). Specific information to be released:
@ Medical Record from (insert date) November 12, 2010 to (insert date) January 31, 2011
@ Entire Medical Record, including patient histories, office notes (except psychotherapy notes), test results, radiology studies, films,
referrals, consults, billing records, insurance records, and records sent to you by other health care providers.
QO) Other: Include: (/ndicate by Initialing)

Alcohol/Drug Treatment
Mental Health Information

 

 

 

 

Authorization to Discuss I h Information HIV-Related Information
(b) OQ By initialing here Lauthorize Drs. Albert Dellafave & Carlos Meletiche
| Initials Name of individual health care provider

to discuss my health information with my attorney, or a pevermmental agency listed here:
Office of New York County District Attorney, 1 Hogan Place, New York, NY 10013

(Attorney/Firm Name or Governmental Agency Name)

 

 

10. Reason for release of information: 11. Date or event on which this authorization will expire:
W At request of individual
O Other: December 31, 2012

12. If not the patient, name of person signing form: 13. Authority to sign on behalf of patient:

 

 

 

All items on this form hay been completed and my questions about this form have been answered. In addition, I have been provided a

copy of the form. fs h A, _ Date: G/ ‘| (Uf

Signature of patient aie ‘authorized by law.

* Human Immunodeficiency Vir@s that causes AIDS. The New York State Public Health Law protects information which reasonably could
identify someone as having IITV symptoms or infection and information regarding a person’s contacts.

 

 
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SO P|

Elizabeth Walker
235 West 120th Street Apt 2
New York, NY 10027

(917) 575-9600

 

 

 

 

April 22, 2014
To Whom It May Concern:

I was one of Kelly Price’s neighbors when she lived at 237 West 120th Street. I have
lived at 235 West 120th Street for five years. I am an attorney and have been a member
of the New York State Bar for over seven years.

During the course of our relationship as neighbors and eventually as friends, Kelly shared
with me the trouble she had obtaining police assistance from members of the 28th
Precinct on multiple occasions when she had been attacked by people in our
neighborhood, including her ex intimate partner, Raheem Powell. I did not witness the
events or attacks Kelly described to me, but throughout 2011 and 2012 she would cry and
talk to me whenever she was assaulted. Kelly believed the women who assaulted her
were associated with either her ex, his alleged drug dealing associates or his childhood
cronies. Kelly was particularly dismayed that the police refused to take her reports,
follow up on assaults against her person, or regard her as a member of society needing
protection in general. She told me that officers in the precinct told her that the district
attorney’s office had instructed them not to assist her.’ Candidly, I did not entirely believe
that the police would refuse Kelly, and I suspected that she was omitting some dispositive
reason why the police were reluctant to intervene on her behalf against her various
alleged attackers.

On the evening of October 18, 2012, Kelly called me crying and asking for my help. I
observed her distraught and injured after she said she had been assaulted in broad
daylight on the corner of our block, at 120th Street and St. Nicholas Avenue, at
approximately 5:30 p.m. while she was en route to her home from the 125th Street
subway. I observed that she was disheveled, her stockings were torn and her knees and
hands were bruised and bloodied. Kelly was nearly hysterical, and I had to calm her
down and give her medical assistance. Kelly related that a purported heroin dealer
named Willy who was known to many residents in the neighborhood (he purportedly
operated his business from a visible stoop on Saint Nicholas Avenue) had “jumped” her
and hit her in the face, spit at her and pushed her onto the sidewalk, all the while
screaming insults at her. I do not recall what Kelly said she said to him before or after
the attack, but J do recall that she said she did not provoke him or retaliate against him
physically. I took pictures of Kelly and her wounds, and encouraged her to call 911 for
assistance in reporting the crime. Kelly stated that she already had called the 28th
Precinct and that a patrol car had been sent to the scene of the assault. Kelly said that
when the officers arrived they refused to take her report and called her crazy. Kelly also
stated that she had then walked to the precinct, three blocks away, for help and had been
rebuffed by the desk sergeant, who Kelly said ridiculed and mocked her.
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Notwithstanding her story that she had sought police intervention earlier that day, I
insisted that she call 911 again and report the chain of events. She complied.

Page 2 of 2

Eventually another patrol car arrived in front of our building. Two police officers, whom
Kelly has since reminded me were named P.O, Longo (shield #31565) and P.O. Walker,
related to us that they were instructed by the station’s desk sergeant not to take Kelly’s
reports. P.O. Walker stated that the District Attorney’s office had instructed the precinct
not to respond to any of Kelly’s calls. I recall being genuinely shocked and outraged to
hear this instruction, and further surprised that a young woman, like P.O. Walker, would
be tasked by her superiors with being complicit in a practices that left a domestic
violence victim without recourse for protection. At this juncture, I introduced myself as
an officer of the court and member of the NY State Bar, and reminded the officers of
their legal and ethical responsibilities to provide complainants with police services. I
recall that the officers responded more favorably to me than they did to Kelly, but I could
not discern whether this was the case because I notified them that I am an attorney, or
because I'm just someone other than Kelly Price. P.O. Walker stated that she would take
basic information about the incident, but she believed that once the precinct began to
process the event, it most likely would be “circular-filed” in the trash bin. P.O. Longo
gave Kelly an incident ID slip and told her to follow up with the precinct in a few days,
then both officers left. I was then, and remain, dumbfounded by what I witnessed
transpire that evening.

Asa single young woman living and working in NYC, it unsettled me that the police
could be so cavalier about Kelly Price’s safety. Kelly has since told me that the
complaint number she was given months later when she inquired as to why no one had
ever followed up with her about the incident was 2012-28-005194. Kelly also informs
me that the detective squad at the 28th Precinct closed her incident report without
contacting her either to identify the perpetrator of the attack or review the emergency
room reports or follow-on orthopedic assessments describing Price’s injuries resulting

from the attack,

Please feel free to contact me concerning these events.

Elizabeth Walker
Case 1:15-cv-05871-KPF Document 4-7 Filed 08/13/15

Kelly Price

EDWARD C. GREENBERG, LLC
570 Lexington Avenue, 17th Floor —
New York, NY 10022

TELEPHONE: (212) 697-8777

FACSIMILE: (212) 697-2528
E-MAIL: ecglaw@aol.com

237 West 120th Street, #1

New York NY 10027

IN REFERENCE TO: Our File No. D366/11

 

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HD

wD
(|

March 22, 2011

For Services Rendered and Charges Incurred through 3/22/11
PROFESSIONAL SERVICES

3/8/2011 ECG

ECG

3/9/2011 ECG

ECG

LG

3/11/2011 ECG

Consultation - flat fee

Telephone call with Cartegeno.

Court appearence, NY Family Court.

Telephone call with Cartegeno.

Pick up Order of Protection.

In office meeting, provide signed order.

 

Hrs/Rate Amount
2.30 350.00
0.40 140.00
350.00/hr

2.00 $50.00
425 .00/hr

0.30 105.00
350.00/hr

1.00 125.00
125.00/hr

1.00 425.00

425 .00/hr
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Edward C. Greenberg, LLC Ay p a.

 

 

 

 

Kelly Price
Page 2
Hrs/Rate Amount
3/11/2011 LG Communication with Police Precinct. 0.50 62.50
125.00/hr
3/16/2011 ECG Telephone w/ Det. Flowers; Telephone 0.40 170.00
conversation w/ client; telephone w/ S. 425 .00/hr
Kartagenar
3/17/2011 TL Telephone call with client re. her visit with 0.17 41.67
Kartegener 250.00/hr
3/18/2011 ECG Meeting in office w/ client; telephone w/ S. 2.00 850.00
Kargeganer with client in office. 425 .00/hr
For Professional Services Rendered: 10:04:00 $3,119.17
ADDITIONAL CHARGES:
—__Oty
3/15/2011 To/from NY Family Court il 4.50
3/17/2011 Messenger delivery to process server l 10.75
Total Additional Charges: $15.25
Total Professional Services & Charges: $3,134.42
Payment Received: THANK YOU!
3/10/2011 Retainer - thank you. Check No. 2545 ($2,500.00)
Total payments and adjustments ($2,500.00)
TOTAL PAYMENT DUE: $634.42

All outstanding balances over 30 days are subject to a 0.75% monthly finance charge.
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February 2, 2015 \ -

Miss Kelly Price

534 w 187" st #7
New York, NY 10033
Via email

Mr. Jeff Schlanger

Chief of Staff

Manhattan District Attorney’s Office
80 Hogan Place

4" Floor

New York, NY 10013

Via email: JShlanger@DANY.nyc.gov

Dear Mr. Schlanger:

I’m writing to provide comprehensive information, to make you aware and to PROPOSE A
PATH FORWARD out of the devil’s cauldron of gross negligence, deliberate malice, outright
unprofessional, unethical and illegal activity taking place in the Manhattan District Attorney’s
office (and vis a vis “collaboration” within the NYPD at the direction of the MDAO) towards
innocent crime victims seeking assistance/justice. The following is a brief regarding the handling
of me as a victim of domestic violence, the deliberate pattern of denial of services unhanded to

me as a victim of Domestic Violence and as a victim of street assaults in NYC and the continuing
problems I’ve encountered with the MDAO and the NYPD in the wake of being falsely branded a
“fabricator” when not one official sought to investigate the true facts of my complaints.

-The MDAO never investigated my claims of abuse. No one interviewed neighbors, had
me sign HPPA forms, reviewed photos of injuries I sustained during battery, or even
called me to ask about my complaints until MONTHS after I was accused of harassing
my batterer by allegedly making false complaints of abuse, arrested, arraigned, charged,
incarcerated in Rikers and had my constitutional rights violated.

-As I was labeled a “fabricator” I ended up on a “do not service list” kept by the
NYPD/MDAO of persons whose complaints are not to be addressed by the police.

-My batterer is still walking free. Why?

-How many other women are denied services like welfare assistance, counseling and
relocation/housing which are “signed-off’ on by Family Justice Centers around the city
that are literally embedded in DAs offices in each borough because they are dubbed
“fabricators” without anyone ever investigating her/his/its claims? How many other
women are DENIED access to the FJC services as I have been/still am?

-Because of my status as a “fabricator” in the eyes of the MDAO OTHER WOMEN IN
NYC WERE STALKED, ASSAULTED, MASTURBATED ON, PREYED UPON AND
HARASSED BY at least ONE MAN THE MDAO REFUSED TO ARREST FOR
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CRIMES AGAINST ME.

The following information is broken down into five categories:

1. Introduction/brief outline of events
IL. Rough timeline of events involving violence against me by Powell

Ii. Events that led to the filing of Federal Civil Rights/Department of
Justice, CCRB, IAB, DOI and OIG complaints vs. the MDAO and
NYPD and details of those incidences.

IV. Details of attacks on my person that the 28th precinct and other
precincts in town refused to follow up on because they were told
by the MDAO that I was no longer entitled to Police Services

V. Moving Forward: the MDAO and Miss Price, the Business of
Photojournalism in NYC and the way forward.

I. Introduction/Brief Outline of Events

ce

a. My Birthname is Kelly Cathleen Price. I Go by GRACE: my beloved
Grandmother’s name. She was a great New Yorker and when this episode in my
life is over I plan on changing my name.

My SS# is XXX-XX-XXXX

My DOB is 11/27/1970

Please find attached the final dispositions/Orders from NY Supreme Court to
dismiss and seal docket #s 20075-2011 and 20111-2011 (Exhibit #7) as well as
the original complaints against me (Exhibit #4 & 5).

I was Arrested on 5/6/2011 and 3/24/2011 by the 28" precinct and 9/24/11by the
14” pet.

On 5/6/11 I was arrested by Detective Samuel Fontanez, shield #00311 of the
028 Detective Squad and on 3/24/11 by various detectives inside the Family
Courthouse as I waited to appear in front of Judge Sattler to have my order of
protection against my batterer renewed and then handed over to detective
Flowers of the 28" precinct. I do not have Dt. Flowers’ shield # and neither does
the Pct. as he has since retired (I was informed this by the dt squad when I called
to ask for the number for you).

I have included copies of emergency room reports and ambulance reports of
some/most of the injuries I sustained. I have also included a disc with images of
my various injuries incurred on my person from assaults by my batterer, Raheem
Andre Powell, his mother, Nancy R. Gaines and by members of the NYPD as
well as people on the street.

As a domestic violence victim I went to the authorities, specifically, the 28th Pct.
as I lived in that district, and then to Cyrus Vance's staff in the DA's office for
help. I began asking for assistance in the spring of 2010 and continued up until
the winter of 2011. I have a timeline with specifics detailing the interaction that I
can provide. Instead of anyone investigating my claims of abuse I was instead
falsely accused and charged with crimes as I was labeled a “fabricator” my

a?
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complaints against him and communications I had with him were viewed as
hundreds as counts of aggravated harassment and I was imprisoned. I was
prosecuted by the Manhattan DAs office on 325 counts of aggravated harassment
and one count of contempt of court. The complainant is a man who battered me
for two years.

i. When I finally went to the police and the DAs office for help I was arrested
instead, they refused to investigate my claims of abuse, and I ended up
incarcerated on Riker's island regardless of the evidence in my favor: hospital
records, eyewitnesses, 911 calls, photographs, permanent scarring, records for
repairs of my front door and windows that were constantly being broken as he
attempted to gain access to me in my apartment et al. After approximately two
years of endless hearings in NY Supreme Court the DAs office offered me ACDs
on the counts which I refuse to plead to as my batterer was walking free without
a charge or restraining order against him. My civil rights have been violated in so
many ways: I feel strongly that the pain, humiliation and anguish caused me need
to be recognized. The people responsible for these malicious prosecutions and
false arrests should be held accountable. This is virtually a horror-film script
ripped from Hollywood: as an innocent crime victim when I turned to the
authorities in my darkest, most desperate hour I was cast as a pariah, a liar, and
as a femme fatale who allegedly injured herself in order to accuse her most
beloved of the same crimes that he actually perpetrated. You allowed my
batterer to manipulate the criminal justice system to continue his control over my
suffering. My abuser did this with the assistance of officers of the MDAO and
NYPD who willfully lapsed in their duties to investigate the circumstances of my
injuries.

j. If this has happened to me it can and has happened to other women and I want to
make sure it never does again.

k. The MDAO refused to investigate my claims of abuse: I have plenty of proof that
this disregard for the obligation to investigate occurred in my case. I received
call from DA Strohbehn on February 2, 2011. She told me I have “less than an
hour” to get downtown to her office regardless of the difficulty in travelling that
day as the city had been blanketed by a blizzard the previous evening. When I
arrived at her office she had me wait in the Safe Horizon office for over two
hours. When she greeted me she withdrew her right hand as I outstretched mine
to shake hers as is common in professional and official circumstances to do. She
led me brusquely down the hall of the 2™ floor she and Det. Simmons and
another Dt from the 28" pet pepper me with questions about how I came to own a
car, how I earned a living, and accuse me of answering my phone earlier in the
day “with a fake accent.” They proceeded to call me a liar and refuse to look at
any material I had that proved I was telling the truth. ADA Strohbehn informed
me she was declining to prosecute Raheem, and informed me that if 1 make
another report against RAHEEM that she will ‘lock me up and throw away the
key.” She also informed the 28th precinct that she will personally handle all of
my “police service needs” and if I have “a bullet-hole in my head that they are to
call her first before responding to any call from me.” She informs me that she
has already assisted Raheem in drawing up a Family Court petition to attain a
counter restraining order against me in order to press counter-claims of
harassment against me. She further instructs me that even though I haven’t been
